                                CASE NO. 23-10385-HH
                    IN THE UNITED STATES COURT OF APPEAL
                            FOR THE ELEVENTH CIRCUIT

                  JANUARY LITTLEJOHN, JEFFREY LITTLEJOHN,
                                   Plaintiffs-Appellants

                                             v.

  SCHOOL BOARD OF LEON COUNTY, FLORIDA, ROCKY HANNA, DR. KATHLEEN
              RODGERS, RACHEL THOMAS, ROBIN OLIVERI
                                  Defendants-Appellees
                    ________________________________________
                     On Appeal from the United States District Court
                     Northern District of Florida, Tallahassee Division
                           Case No. 4:21-CV-00415-MW-MJF
                   __________________________________________

                   MOTION TO WITHDRAWAL OF COUNSEL

      Plaintiffs, January and Jeffery Littlejohn, hereby request that this Court

withdraw Athina Giouvalkais as its counsel of record in this case, as Ms. Giouvalakis

has left the law firm of Child and Parental Rights Campaign. Plaintiff continues to

be represented by the law firm of Child and Parental Rights Campaign, and Mary E.

McAlister of that firm continues to serve as its lead counsel.


  Respectfully submitted, this 11th day of February 2025.

                            [Signature on following page]
CHILD & PARENTAL RIGHTS
CAMPAIGN

/s/ Mary E, McAlister
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 Counsel for Plaintiffs
                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) on this 11th of

February 2025.


                                                      /s/ Mary E. McAlister
                                                      Mary E. McAlister Esq.
